461 F.2d 1080
    Johnnie WILLIAMS, Jr., Petitioner-Appellant,v.Louie L. WAINWRIGHT, Director, Division of Corrections,State of Florida, Respondent-Appellee.Robert WALDEN, Jr., Petitioner-Appellant,v.Louie L. WAINWRIGHT, Director, Division of Corrections,State of Florida, Respondent-Appellee.Willie RAINGE, Petitioner-Appellant,v.Louie L. WAINWRIGHT, Director, Division of Corrections,State of Florida, Respondent-Appellee.Lawrence Doyle CONKLIN, Petitioner-Appellant,v.Louie L. WAINWRIGHT, Director, Division of Corrections,State of Florida, Respondent-Appellee.
    Nos. 27556, 27954, 28058 and 28479 Summary Calendar.*
    United States Court of Appeals,Fifth Circuit.
    June 13, 1972.
    
      Johnnie Williams, Jr., pro se.
      Robert Walden, pro se.
      Willie Rainge, pro se.
      Lawrence D. Conklin, pro se.
      Earl Faircloth, Robert L. Shevin, Attys.  Gen., Wallace E. Allbritton, Michael L. Minerva, Asst. Attys.  Gen., Tallahassee, Fla., for respondent-appellee.
      Before JOHN R. BROWN, Chief Judge, and MORGAN and INGRAHAM, Circuit Judges.
      PER CURIAM:
    
    
      1
      In this consolidated appeal four inmates of the Florida State Prison at Raiford seek relief against alleged deprivations of constitutional rights resulting from their confinement in that institution.  The District Court dismissed each of the complaints without a hearing or any other sort of factual investigation on the theory that the practices in question were within the scope of the broad official discretion permitted in connection with the operation and administration of State prison systems.
    
    
      2
      We vacate and remand for further development of the facts.  Haines v. Kerner, 1972, 404 U.S. 519, 92 S.Ct. 594, 30 L.Ed.2d 652; Cruz v. Beto, 1972, 405 U.S. 319, 92 S.Ct. 1079, 31 L.Ed.2d 263; Gilmore v. Lynch, N.D.Cal., 1970, 319 F.Supp. 105, affirmed sub nom.  Younger v. Gilmore, 1971, 404 U.S. 15, 92 S.Ct. 250, 30 L.Ed.2d 142; Novak v. Beto, 5 Cir., 1971, 453 F.2d 661; Campbell v. Beto, 5 Cir., 1972, 460 F.2d 765.  As in Campbell we intimate nothing regarding the merit or lack of merit of any of the allegations raised in the complaints, nor do we attempt to prescribe the form which the necessary factual inquiry should take.  Whether these claims should be graced with a fullfledged evidentiary hearing or disposed of by utilization of the wide variety of available discovery techniques is a matter properly to be decided by the District Judge.  As in other civil cases the usual standards prevail.  See Tyler v. Peel Corp., 5 Cir., 1967, 371 F.2d 789, 791-792 and cases cited therein.
    
    
      3
      Vacated and remanded.
    
    
      
        *
         Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Company of New York et al., 5 Cir., 1970, 431 F.2d 409, Part I
      
    
    